           Case 19-10282-mdc                    Doc       Filed 03/26/24 Entered 03/26/24 16:16:38                       Desc Main
                                                          Document      Page 1 of 4
Fill in this information to identify the case

Debtor 1 Erin M. Kocotis
Debtor 2
(Spouse, if filing)
United States Bankruptcy Court for the: EASTERN District of PENNSYLVANIA
                                                                        (State)
Case number 19-10282


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security
interest in the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred
after the bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:       HSBC Bank USA, N.A.                                     Court claim no. (if known):   10




Last four digits of any number you use to        5466
identify the debtor's account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
                      No
                      Yes. Date of the last notice: 10/15/2021

Part 1:         Itemize Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount
indicate that amount in parentheses after the date the amount was incurred.

      Description                                                       Dates incurred                               Amount

1.    Late charges                                                                                            (1)    $

2.    Non-sufficient funds (NSF) fees                                                                         (2)    $

3.    Attorney's fees                                                                                         (3)    $

           Notice of Final Cure Response                                3/18/2024                                    $            500.00

           Notice of Post Petiton Fees                                  3/25/2024                                    $            150.00

4.    Filing fees and court costs                                                                             (4)    $

5.    Bankruptcy/Proof of claim fees                                                                          (5)    $

6.    Appraisal/Broker's price opinion fees                                                                   (6)    $

7.    Property inspection fees                                                                                (7)    $

8.    Tax advances (non-escrow)                                                                               (8)    $

9.    Insurance advances (non-escrow)                                                                         (9)    $

10.   Property preservation expenses. Specify: _______                                                        (10)   $

11.   Other. Specify: _____________________________                                                           (11)   $

12.   Other. Specify: _____________________________                                                           (12)   $

13.   Other. Specify: _____________________________                                                           (13)   $


Official Form 410S2                   Notice of Postpetition Mortgage Fees, Expenses, and Charges                        Page 1

20-019608_SJW
           Case 19-10282-mdc                Doc        Filed 03/26/24 Entered 03/26/24 16:16:38                            Desc Main
                                                       Document      Page 2 of 4
14.   Other. Specify: _____________________________                                                           (14)   $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. § 1322(b)(5)
and Bankruptcy Rule 3002.1.




Official Form 410S2                Notice of Postpetition Mortgage Fees, Expenses, and Charges                             Page 2

20-019608_SJW
             Case 19-10282-mdc                     Doc     Filed 03/26/24 Entered 03/26/24 16:16:38                     Desc Main
                                                           Document      Page 3 of 4
Debtor 1         Erin M. Kocotis                                               Case number (if known) 19-10282
            First Name                      Middle Name         Last Name


Part 2:           Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.
           I am the creditor.
           I am the creditor's authorized agent.
I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.

X             /s/Alyk L. Oflazian                                                   Date      03/26/2024
     Signature

Print:                    Alyk L. Oflazian                                            Title   Attorneys for Creditor
Title                      Attorneys for Creditor
Company                    Manley Deas Kochalski LLC
Address                    P.O. Box 165028
                         Number             Street
                           Columbus, OH 43216-5028
                         City                      State          ZIP Code
Contact phone             614-220-5611                                              Email      amps@manleydeas.com




Official Form 410S2                     Notice of Postpetition Mortgage Fees, Expenses, and Charges                     Page 3

20-019608_SJW
Case 19-10282-mdc         Doc     Filed 03/26/24 Entered 03/26/24 16:16:38              Desc Main
                                  Document      Page 4 of 4



                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                               :
                                     : Case No.: 19-10282
Erin M. Kocotis                      : Chapter 13
                                     : Judge Magdeline D. Coleman
                           Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                     :
HSBC Bank USA, N.A.                  : Related Document #
                            Movant, :
       vs                            :
                                     :
Erin M. Kocotis                      :
Kenneth E. West                      :
                        Respondents. :
                                     :
                                CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Notice of Postpetition

Mortgage Fees, Expenses, and Charges was filed electronically. Notice of this filing will be sent

to the following parties through the Court's Electronic Case Filing System:

   Office of U.S. Trustee, Party of Interest, 200 Chestnut Street, Suite 502, Philadelphia, PA
   19106, USTPRegion03.PH.ECF@usdoj.gov

   Kenneth E. West, Chapter 13 Trustee, 1234 Market Street - Suite 1813, Philadelphia, PA
   19107, ecfemails@ph13trustee.com

   Michael A. Cibik, Attorney for Erin M. Kocotis, 1500 Walnut Street, Suite 900, Philadelphia,
   PA 19102, help@cibiklaw.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S.

Mail to the following:

   Erin M. Kocotis, 4221 Fairdale Road, Philadelphia, PA 19154


                                                          /s/Alyk L. Oflazian




20-019608_SJW
